 Case: 1:22-cv-00125 Document #: 879 Filed: 06/19/25 Page 1 of 4 PageID #:38128




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION



ANDREW CORZO, SIA HENRY, ALEXANDER LEO- Case No. 1:22-cv-00125
GUERRA, MICHAEL MAERLENDER, BRANDON
PIYEVSKY, BENJAMIN SHUMATE, BRITTANY
TATIANA WEAVER, and CAMERON WILLIAMS,
individually and on behalf of all others similarly situated, Hon. Matthew F. Kennelly

                             Plaintiffs,

       v.

BROWN UNIVERSITY, CALIFORNIA INSTITUTE
OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
THE TRUSTEES OF COLUMBIA UNIVERSITY IN
THE CITY OF NEW YORK, CORNELL
UNIVERSITY, TRUSTEES OF DARTMOUTH
COLLEGE, DUKE UNIVERSITY, EMORY
UNIVERSITY, GEORGETOWN UNIVERSITY, THE
JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
LAC, THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,

                             Defendants.




                    PLAINTIFFS’ RESPONSE TO LETTER RE:
                 POTENTIAL RULE 1.5(F) VIOLATION (ECF No. 878)
  Case: 1:22-cv-00125 Document #: 879 Filed: 06/19/25 Page 2 of 4 PageID #:38129




          This responds to Mr. Bach-y-Rita’s letter to the Court dated June 19, 2025 (ECF 878) (the

“Letter”). By way of background, Mr. Bach-y-Rita, an employee of Freedman Normand Friedland

LLP (FNF), is involved in an employment and compensation dispute with FNF, now in arbitration

before the American Arbitration Association (AAA). On June 16, 2025, mediation between FNF

and Mr. Bach-y-Rita failed. The next day, Mr. Bach-y-Rita’s counsel, Mr. Jason Cyrulnik,

contacted Class Counsel, threatening to allege ethical violations unless Class Counsel postponed

the upcoming fairness hearing regarding class settlements with two Defendants. Specifically, Mr.

Cyrulnik claimed Class Counsel lacked written consent from the eight Named Plaintiffs for the fee

division among the three Class Counsel firms litigating this case on behalf of the Settlement Class.

Despite attempts to resolve the matter without burdening the Court, Mr. Bach-y-Rita filed his

Letter.

          The Letter lacks merit for three reasons.

          First, Rule 1.5(f) of the Illinois Rules of Professional Conduct (which relates to division

of fees among counsel) is inapplicable in class actions where the “client is the class,” fees are

drawn from the class as a whole (not any individual client), and the Court awards the fee. See

Rand v. Monsanto Co., 926 F.2d 596, 600 (7th Cir. 1991) (Easterbrook, J.) (emphasis added),

overruled on other grounds by Chapman v. First Index, Inc., 796 F.3d 783 (7th Cir. 2015) (“Rule

23 is designed for the nation as a whole. Slavishly following the different state rules on the

allocation of costs would balkanize litigation.”).

          Second, the issue is moot. After Mr. Cyrulnik raised this issue for the first time two days

ago, and out of an abundance of caution, Class Counsel obtained written consent to Class

Counsel’s agreement regarding division of any fees awarded by the Court from all eight of the
  Case: 1:22-cv-00125 Document #: 879 Filed: 06/19/25 Page 3 of 4 PageID #:38130




Named Plaintiffs in this action. Thus, to the extent the Rule applies, Class Counsel are in full

compliance with it.

       Finally, one reasonable inference from Mr. Bach-y-Rita’s Letter—and its curious timing—

is that it is an improper attempt to leverage accusations of ethical misconduct on the eve of a fee

hearing for his benefit in a private arbitration. Indeed, to the extent the Letter is construed as an

objection or request to extend time, it is procedurally untimely. As Mr. Bach-y-Rita knows, the

objection deadline to the pending settlements or fee request (April 9, 2025) has passed with no

objections. Seeking judicial intervention now on a moot issue to accommodate a private

employment dispute serves no class interest.

       Plaintiffs respectfully submit, for the foregoing reasons and those previously submitted,

that the Court should approve the settlements with Caltech and JHU and grant Settlement Class

Counsel’s Motion for Service Awards, Reimbursement of Expenses, and Attorneys’ Fees.



Dated: June 19, 2025                               Respectfully Submitted,

 /s/ Robert D. Gilbert                               /s/ Edward J. Normand
 Robert D. Gilbert                                   Devin “Vel” Freedman
 Elpidio Villarreal                                  Edward J. Normand
 Robert S. Raymar                                    Richard Cipolla
 David S. Copeland                                   Joseph Delich
 Natasha Zaslove                                     Peter Bach-y-Rita
 GILBERT LITIGATORS &                                FREEDMAN NORMAND
   COUNSELORS, P.C.                                    FRIEDLAND LLP
 11 Broadway, Suite 615                              155 E. 44th Street, Suite 915
 New York, NY 10004                                  New York, NY 10017
 Tel: (646) 448-5269                                 Tel: (646) 494-2900
 rgilbert@gilbertlitigators.com                      vel@fnf.law
 pdvillarreal@gilbertlitigators.com                  tnormand@fnf.law
 rraymar@gilbertlitigators.com                       rcipolla@fnf.law
 dcopeland@gilbertlitigators.com                     jdelich@fnf.law
 nzaslove@gilberlitigators.com                       pbachyrita@fnf.law

 /s/ Eric L. Cramer                                  Ivy Ngo


                                                 2
 Case: 1:22-cv-00125 Document #: 879 Filed: 06/19/25 Page 4 of 4 PageID #:38131




Eric L. Cramer                                   FREEDMAN NORMAND
David Langer                                      FRIEDLAND LLP
Jeremy Gradwohl                                  1 SE 3d Avenue, Suite 1240
BERGER MONTAGUE PC                               Miami, FL 33131
1818 Market Street, Suite 3600                   Tel: (786) 924-2900
Philadelphia, PA 19103                           ingo@fnf.law
Tel: (215) 875-3000
ecramer@bm.net                                   Daniel J. Walker
dlanger@bm.net                                   Robert E. Litan
jgradwohl@bm.net                                 Hope Brinn
                                                 BERGER MONTAGUE PC
Richard Schwartz                                 1001 G Street, NW, Suite 400 East
BERGER MONTAGUE PC                               Washington, DC 20001
1720 W Division                                  Tel: (202) 559-9745
Chicago, IL 60622                                rlitan@bm.net
Tel: (773) 257-0255                              dwalker@bm.net
rschwartz@bm.net                                 hbrinn@bm.net

                       Counsel for Plaintiffs and the Settlement Class




                                             3
